Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 1of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

— Q No Anonymity: Judge Says University of Wyoming Women Suing Sorority C 2 it

VISIT COWBOYSTATE.ORG

SPRING ENROLLMENT BEGINS NOV. 18

No Anonymity: Judge Says University of
Wyoming Women Suing Sorority Over
Transgender Member Must Use "True Names"

Acknowledging both growing violence around transgender issues and the public's right to follow
court proceedings, a federal judge on Friday filed a second order denying anonymity for seven women
suing the Kappa Kappa Sorority for inducting transgender member Artemis Langford.

Clair McFarland
April 15,2023 = 6 minread

Q

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 1/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 2 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

(‘BEEase &
oo ee ee
EME wY of

<3) ae)

al
<<)

Acknowledging both growing violence around transgender issues and the public's right to follow
court proceedings, a federal judge on Friday filed a second order denying anonymity for seven women

University of Wyoming.

“Plaintiffs have chosen to level accusations of impropriety against Defendants,” said U.S. District
Court Judge Alan B. Johnson in his Friday order. “They must now shoulder the burden of those
accusations and walk in the public eye”

The seven women suing the Kappa Kappa Gamma sorority for its September induction of
transgender member Artemis Langford asked Johnson twice to allow them to go through the case
anonymously under “Jane Doe” pseudonyms: once on March 27 and again on April 7 after Johnson
denied the first request.

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 2/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 3 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

(© notol-\-Migl-m-».4 o\-1a coe! [-1e]|ales{- Mattar late
aar-lar-lel-melUlanc-sxe0]-lareelarelivelan YAMA

( Sue mater |
PME Ele celery

PMP rela Merm OF yol-1al te lKer-|Mluat-ce Liar]

Johnson's April 6 denial says the women's generalized safety concerns don’t outweigh the public’s
right to follow the case — including the parties’ names. He gave the women until April 20 to reveal
their true names if they wish to proceed in the case.

“This Court exists to serve the public,” he said. “If Plaintiffs wish to proceed, they may do so in their
true names.”

More Violent Each Day

The judge repeated that conclusion in his order Friday, which came after the women’s April 7 plea for
him to reconsider their request in light of heightening violence surrounding transgender issues.
Their second request cited a recent attack on women’s-rights activist Riley Gaines, a Nashville school
shooting by a transgender person and a controversial meme that Wyoming Rep. Karlee Provenza, D-
Laramie, posted this month.

These events - all of which occurred in the 10 days between the women’s first request for anonymity
and Johnsons first denial - still don’t demonstrate specific, personal threats of harm against the
women, said Johnson.

“Plaintiffs present little to demonstrate that they, themselves are in real, imminent, personal danger,”
he said in the order. “The tragic, yet distant, events in Nashville, or a politician’s ill-advised
innuendos, are irrelevant.”

aay hla cla Ne Tere ACCLAIM
7 | = re) REPLACEMENT WINDOWS
a ) Cae dy a

a a ee

MOE Ni ete | Neh Ghia ENSEMBLE

esa aU ee te ares * 1 | Se , —ENTRY DOORS —
Pee unt neta : Telit ct i BRI ss c.usivecsvvw wemcwac ny anoensen

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 3/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 4 of 10

2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l...

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €
request.

Johnson said the case is not so exceptional that the University of Wyoming police department can't
handle their protection.

The women also had argued that the case has garnered intense national interest and is unique
because it forces the court to contemplate the definition of the word “woman.”

Johnson said this argument cuts both for and against their pleas for anonymity, by emphasizing the
public’s investment in the proceedings.

“T yearn for the day where litigants seek their courts unburdened by the mere possibility of physical
reprisal,” said Johnson, who reminisced over the days “where motions and orders collected dust in
the anachronistic file rooms below this courthouse.”

HATE G CST AE
CNEL MEH Gal

ern aD

But federal lawsuits are often above-the-fold news, he said.

“Add in salacious claims against one, who, the Plaintiffs concede, stands in the public forum, and the
media spotlight burns brighter,” he said.

Johnson referred to Langford, who chose to give an October interview to university newspaper the
Branding Iron about being the first transgender inductee of Kappa Kappa Gamma’s Wyoming

chapter.

The women had argued in their second plea for anonymity that Langford has chosen to become a
public figure — but they have not.

Despite his reminiscing, Johnson said the increasing volume of news covering federal cases also isn’t
enough to warrant anonymity.

4/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 5of10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

In other circuits he’s found such instances, such as when the court granted an inmate pseudonymity
after he made a strong showing that other inmates would hurt him over his lawsuit disclosing
repeated instances of prison sexual abuse.

Sensitive And Personal

The women also failed to show that this case is of a highly sensitive and personal nature, Johnson
said, which is another criterion by which plaintiffs have received anonymity in past cases.

Though the case involves the women’s personal living space and some private matters, Johnson said
in his April 6 order, the claims themselves are of breach of contract and breach of fiduciary duty.

‘Through His Leggings’

The women on March 27 sued the Kappa Kappa Gamma sorority, saying it has betrayed its duty to
them by inducting a transgender member, after making the women believe they were joining a
sisterhood. The suit also alleges that the local housing organization for the sorority breached its
contract with the induction of a male.

Langford does not yet live in the sorority house but visits often, and is slated to live there in the
coming months, according to court documents.

The women allege that Langford ogles the women, sometimes with “an erection visible through his
leggings” and often at awkward or vulnerable moments. They said in their complaint that they are
apprehensive about living in the same house with Langford soon, especially since the bathroom
doors do not lock.

Langford is six-foot-two, according to the lawsuit complaint, and weighs 260 pounds.
Langford Also A Defendant

The suit also accuses Kappa Kappa Gamma of interfering wrongly with the women’s housing contract
by pushing for and allowing Langford’s induction.

The women added Langford under the pseudonym “Terry Smith” as another defendant in the suit,
but said they aren’t seeking monetary damages from Langford - though they do seek monetary
damages from the sorority, and have asked the court to void Langford’s sorority membership.

‘st asked Johnson to let Langford proceed under a pseudonym as well.

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 5/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 6 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €
‘equivalent to asking us to put jack back in the box,” said Johnson, quoting from earlier case law.

Clair McFarland can be reached at Clair@CowboyStateDaily.com

Bachelor of Science Degree Program

UNIVERSITY | schoo! of ENERGY RESOURCE MANAGEMENT
6 WE Energy Resources AND DEVELOPMENT BN Lelia =
Professional Land Management | Energy and Environmental Systems
IN CASE YOU MISSED IT

Wyoming Close To Outlawing Buying And Selling Of 'Sexual
Contact'

Clair McFarland «= 4 minread

Plans For $19.5M Wyoming Shooting Complex Stall As Senate
Pulls Promised $10M

Mark Heinz = 4minread

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 6/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 7 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

Courts, Crime & Courts

SHARE THIS ARTICLE

f vy M @ tt

Clair McFarland

Crime and Courts Reporter

View Profile

MORE IN COURTS Viewall

Hours After Governor Signs New
Abortion Law, Pro-Choice Group
Files Lawsuit

Clair McFarland = February 28, 2025

Man With ‘Probable’ Drug Cartel
Ties Could Get Life For Dealing
Meth In Wyoming

Clair McFarland =» February 27, 2025

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 7/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 8 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

| ee

—| Was She Killed
to Make Your
Carry-On? ~

CRELTY DOEITT FLY | CHONSE VGN

PETA

PETA To Get $35K Settlement Montana Credit Union Worker
After Denied Anti-Leather Ad In Replaced $340,000 In Vault With
Rock Springs Airport Fake Money

Clair McFarland = February 27, 2025 David Madison = February 27, 2025

MOST READ

1 Wyoming Close To Outlawing Buying And Selling Of 'Sexual Contact'
Clair McFarland = February 28, 2025

2 Wyoming Is Fifth State To Allow Guns In Public Schools Without Special Permission

Mark Heinz = February 28, 2025

3. Wyoming To Make Rodeo-Themed License Plate In Response To PETA Rodeo Protest

Leo Wolfson = February 28, 2025

4 With Trucking Fatalities On The Rise, Some Blame Drivers Who Can't Read English

Clair McFarland = February 28, 2025

yoming Shooting Complex Stall As Senate Pulls Promised $10M

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 8/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 9 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

6 Property Tax Cut Bill Headed To Gov’s Desk, But Not Without Senator Calling It
"Fertilizer"

Leo Wolfson = February 28, 2025

Cle orale col

Investing in Wyoming,
one company at atime.

Think Wyoming
First.
Think 307 First.

Cowboy State Daily thanks our Presenting Partners:

7 a > , DISCOVER
Bey ome PBST RR cane

ag
POWERING UP
WYOMING POWERING u soe rinsy RENEWAL CO

HILLTOP WYOMING
IANK
Foie COWBDYSTATE.ORG

WYOMING 1 G
FAMILY ALLIANCE by ANDERSEN WYOMING
fa wows scom rT

Subscribe to our Newsletter >

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=l... 9/10
Case 2:23-cv-00051-ABJ Document 48-49 Filed 02/28/25 Page 10 of 10
2/28/25, 5:38 PM No Anonymity: Judge Says University of Wyoming Women Suing Sorority Over Transgender Member Must... | Cowboy State Daily

No Anonymity: Judge Says University of Wyoming Women Suing Sorority €

https://cowboystatedaily.com/2023/04/1 5/judge-denies-anonymity-again-for-seven-women-suing-sorority-for-inducting-transgender-member/?fbclid=... 10/10
